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                                                                                              .FILED
                             UNITED STATES DISTRICT COURT
                                                                                            NOV 16 2022
                             EASTERN DISTRICT OF MISSOURI
                                   EASTERN DIVISION                                       U.S. DISTRICT COURT
                                                                                        EASTERN DISTRICT OF MO
                                                                                              ST LOUIS
UNITED STATES OF AMERICA,                         )
                                                  )
          Plaintiff,                              )   No.    4:22CR651-RWS/SPM
                                                  )
V.                                                )
                                                  )
SHAQUILLE R. PAYNE,                               )
                                                  )
        Defendant.                                )

                                             ORDER

        It appearing to the Court that the following defendant, to wit,

                                    SHAQUILLE R. PAYNE,

has been indicted by the grand jury, and that the defendant has not yet been taken into custody, nor

has the defendant yet given bail for the defendant's final appearance to answer said indictment, it

is by the Court ordered that said indictment shall be sealed and suppressed by the Clerk of the

Court until said defendant is in custody or has given bail for the defendant's final appearance.




                                                                                   GE


Dated   thi,fj;tf:     of November, 2022.
